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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

 

A True Copy

Certified order issued Dee 10, 2019
ACI19 -cy- ¥ 25 79 Suge W. ue
. Clerk, US. Court of Appeals, Fifth Circuit

No. 19-10754

RICHARD W. DEOTTE, on behalf of himself and others similarly situated;
YVETTE DEOTTE; JOHN KELLEY; ALISON KELLEY; HOTZE HEALTH &
WELLNESS CENTER; BRAIDWOOD MANAGEMENT, INCORPORATED,
on behalf of itself and others similarly situated,

Plaintiffs - Appellees

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

Vv. FILED
STATE OF NEVADA, veL | U 2019

 

 

 

 

Movant - Appellant

CLERK, U.S. DISTRICT COURT

By oS
Deputy

 

 

 

Appeal from the United States District Court
for the Northern District of Texas

 

CLERK'S OFFICE:

Under FED. R. APP. P. 42(b), the appeal is dismissed as of December 10,
2019, pursuant to motion filed by Appellants Mr. Alex M. Azar, II, Secretary,
U.S. Department of Health and Human Services, Mr. Steven T. Mnuchin,
Secretary, U.S. Department of Treasury, Mr. Eugene Scalia, Secretary, U.S.
Department of Labor and USA.
Case P98: d7d0828-0 ROGUE ORES FRY 22/1 878F: 2paGate Gilet: Baya SS 4

Clerk of the United States Court
of Appeals for the Fifth Circuit

 

 

Mary Frances Yeager, Deputy Clerk

|
LYLE W. CAYCE
ENTERED AT THE DIRECTION OF THE COURT
